Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 1 of 26 Page ID #:1



 1   JOHN K. FLOCK ESQ. (SBN 200183)
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 4
     Attorneys for Defendant,
 5   COSTCO WHOLESALE CORPORATION
 6

 7

 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10

11   CLAUDIA VALENZUELA, an                    Case No.
     individual,
12
                        Plaintiff,             NOTICE OF REMOVAL OF
13                                             ACTION UNDER 28 U.S.C. § 1441(b)
     v.                                        (DIVERSITY)
14
   COSTCO WHOLESALE
15 CORPORATION, a Washington
   corporation; LOUIS PARKER; and
16 DOES 1 through 50,

17                      Defendants.
18

19
20         TO THE CLERK OF THE ABOVE-ENTILTED COURT:
21         PLEASE TAKE NOTICE THAT Defendant, Costco Wholesale Corporation
22   (“Defendant”) hereby removes this action from the Superior Court of the State of
23   California, County of Los Angeles to the United States District Court for the Central
24   District of California pursuant to 28 U.S.C. §§ 1332, 1441 and 1446 and sets forth in
25   support of its Notice of Removal of Action the following:
26         Complete Diversity Exists
27         1.    This Notice of Removal is based in part, upon 28 U.S.C. § 1441(a) that
28   states: “any civil action brought in a State court of which the district courts of the
                                               -1-
                      NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(B))
                                       Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 2 of 26 Page ID #:2



                                        1   United States have original jurisdiction, may be removed by the defendant or the
                                        2   defendants, to the district court of the United States for the district and division
                                        3   embracing the place where such action is pending.”
                                        4          2.     District courts have original have original jurisdiction of all civil actions
                                        5   where the matter in controversy exceeds the sum or value of $75,000, exclusive of
                                        6   interest and costs, and is between citizens of different States. 28 U.S.C. § 1332(a)(1).
                                        7          3.     Plaintiff, Claudia Valenzuela is a citizen of the state of California.
                                        8          4.     Defendant, Costco Wholesale Corporation was, at the time of the filing
                                        9   of this action, and still is, a citizen of the state of Washington. Defendant is a
                                       10   Washington corporation with its headquarters and principal place of business in
                                       11   Washington.
15250 Ventura Boulevard, Ninth Floor
 Sherman Oaks, California 91403-3221
    THARPE & HOWELL, LLP




                                       12          5.     Defendant, Louis Parker has not been served or appeared in this action.
                                       13   Those named as defendants but not yet served in the state court action need not join
                                       14   the notice of removal. Northern Ill. Gas Co. v. Airco Industrial Gases (7th Cir. 1982)
                                       15   676 F2d 270, 272; Destfino v. Reiswig (9th Cir. 2011) 630 F3d 952, 955 (codefendants
                                       16   not properly served need not join).
                                       17          6.     Thus, a defendant who has been served or who has otherwise acquired
                                       18   notice of a state court action need not seek out and notify codefendants who have
                                       19   not yet been served to ask them to join in the removal. See Gossmeyer v. McDonald
                                       20   (7th Cir. 1997) 128 F3d 481, 489.
                                       21          7.     Moreover, defendant, Louis Parker appears to have been named to create
                                       22   a fraudulent joinder. Joinder in the notice of removal is not required by persons
                                       23   named as defendants solely to prevent removal. Chambers v. HSBC Bank USA,
                                       24   N.A. (6th Cir. 2015) 796 F3d 560, 564-565; Farias v. Bexar County Bd. of Trustees
                                       25   for Mental Health Mental Retardation Services (5th Cir. 1991) 925 F2d 866, 871.
                                       26          8.     Therefore, diversity of citizenship exists for purposes of removal of the
                                       27   state court action to this district court.
                                       28   ///
                                                                               -2-
                                                         NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(B)
                                                                                                          Demir v. Costco Wholesale Corp.
                                       Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 3 of 26 Page ID #:3



                                        1         Amount in Controversy Exceeds $75,000
                                        2         9.     Plaintiff’s Complaint alleges two causes of action for negligence and
                                        3   premises liability against Defendant.         (See Plaintiff’s Complaint, Case No.
                                        4   22STCV22758, Superior Court of California, County of Los Angeles, page 3, attached
                                        5   as Exhibit A.)
                                        6         10.    On July 18, 2020, Plaintiff alleges that she slipped and fell while visiting
                                        7   Defendant’s store located at 17550 Castelton Street, City of Industry, California and
                                        8   sustained personal injuries. Plaintiff alleges Defendant negligently and carelessly
                                        9   owned, operated, managed, and supervised its employees so as to allow a dangerous
                                       10   condition to exist that resulted in Plaintiff’s alleged injuries.           (See Plaintiff’s
                                       11   Complaint, Case No. 22STCV22758, Superior Court of California, County of Los
15250 Ventura Boulevard, Ninth Floor
 Sherman Oaks, California 91403-3221
    THARPE & HOWELL, LLP




                                       12   Angeles, page 5, attached as Exhibit A.)
                                       13         11.    Plaintiff alleges she has suffered general damages, medical and incidental
                                       14   expenses, other special and incidental damages, loss of earnings, and loss of earning
                                       15   capacity. (See Plaintiffs’ Complaint, Case No. 22STCV22758, Superior Court of
                                       16   California, County of Los Angeles, pages 3, attached as Exhibit A.)
                                       17         12.    On April 28, 2021, Plaintiff’s counsel served Defendant with a Demand
                                       18   Letter in which he explained that Plaintiff had sustained significant bodily injuries,
                                       19   discussed her medical care, itemized her damages, produced her medical records, and
                                       20   made a demand in the amount of $130.000.00. (See Plaintiff’s Demand Letter dated
                                       21   April 28, 2021 without exhibits, attached as Exhibit B.)
                                       22         13.    The 30-day removal period starts to run only upon defendant's receipt of
                                       23   an “amended pleading, motion, order or other paper from which it may first be
                                       24   ascertained that the case is … removable.” 28 USC § 1446(b)(3). A demand letter
                                       25   qualified as an “other paper.” Huffman v. Saul Holdings Ltd. Partnership (10th Cir.
                                       26   1999) 194 F3d 1072. A settlement demand is relevant evidence of the amount in
                                       27   controversy “if it appears to reflect a reasonable estimate of the plaintiff's claim.” Cohn
                                       28
                                                                               -3-
                                                         NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(B)
                                                                                                         Demir v. Costco Wholesale Corp.
                                       Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 4 of 26 Page ID #:4



                                        1   v. Petsmart, Inc. (9th Cir. 2002) 281 F3d 837, 840; Lowery v. Alabama Power Co.
                                        2   (11th Cir. 2007) 483 F3d 1184, 1213, fn. 62.
                                        3          14.       Therefore, Plaintiff alleges damages that far exceed the minimum amount
                                        4   in controversy requirements for purposes of removal of the state court action to this
                                        5   district court.
                                        6          Notice of Removal Is Timely
                                        7          15.       On July 14, 2022, Plaintiff filed this action in the Superior Court of the
                                        8   State of California, County of Los Angeles, as case no. 22STCV22758. (See Plaintiff’s
                                        9   Complaint attached hereto as Exhibit A.)
                                       10          16.       On July 18, 2022, Plaintiff served the Summons and Complaint on
                                       11   Defendant.
15250 Ventura Boulevard, Ninth Floor
 Sherman Oaks, California 91403-3221
    THARPE & HOWELL, LLP




                                       12          17.       This Notice of Removal is being filed within thirty (30) days after
                                       13   Defendant received Plaintiff’s initial pleading. 28 U.S.C. § 1446(b).
                                       14          Other Requirements for Removal Are Met
                                       15          18.       Removal of this lawsuit to the United States District Court for the Central
                                       16   District of California, Western Division is proper as the Superior Court of the State of
                                       17   California, County of Los Angeles, where the action was originally filed, is located in
                                       18   this district.
                                       19          19.       Defendant is simultaneously filing a Notice of Removal to Federal Court
                                       20   with the Superior Court of the State of California, County of Los Angeles, and it has
                                       21   given notice and served this pleading on Plaintiff. (A true and correct copy of the
                                       22   Notice of Removal to Federal Court filed with the Superior Court is attached hereto as
                                       23   Exhibit C.)
                                       24          Demand for Jury Trial
                                       25          20.       Separate and apart from removal requirements, counsel for Defendant
                                       26   demands a jury trial.
                                       27

                                       28
                                                                                   -4-
                                                             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(B)
                                                                                                           Demir v. Costco Wholesale Corp.
                                       Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 5 of 26 Page ID #:5



                                        1   Dated: August 9, 2022                 THARPE & HOWELL, LLP
                                        2

                                        3

                                        4
                                                                                  By:
                                        5                                               JOHN K. FLOCK
                                        6                                               Attorneys for Defendant,
                                                                                        COSTCO WHOLESALE
                                        7
                                                                                        CORPORATION
                                        8

                                        9
                                       10

                                       11
15250 Ventura Boulevard, Ninth Floor
 Sherman Oaks, California 91403-3221
    THARPE & HOWELL, LLP




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                                                                             -5-
                                                       NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(B)
                                                                                                  Demir v. Costco Wholesale Corp.
Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 6 of 26 Page ID #:6




                          EXHIBIT A
Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 7 of 26 Page ID #:7
Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 8 of 26 Page ID #:8
Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 9 of 26 Page ID #:9
Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 10 of 26 Page ID #:10
Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 11 of 26 Page ID #:11
Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 12 of 26 Page ID #:12




                           EXHIBIT B
     Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 13 of 26 Page ID #:13




                                  10900 Wilshire Boulevard, 15th Floor
                                     Los Angeles, California 90024
                                          Tel: 310.312.3300
                                          Fax: 310.882.5444
                                      www.jacobyandmeyers.com

                                                                                    Attorney Email Address:
                                                                              gcurry@jacobyandmeyers.com

                                              March 23, 2021

     VIA FACSIMILE

     Gallagher Bassett
     Attn: ARTHUR J GALLAG
     Facsimile: (636) 477-2921

            Our Client   :   Claudia Valenzuela
            Your Insured :    COSTCO WHOLESALE
            Claim Number :   003632586955GB01
            Date of Loss :   7/18/2020
            File Number :    204011

     Dear Claims Adjuster:

             As you are aware, our office represents Claudia Valenzuela who has a claim for personal
     injuries against your insured arising out of a personal injury incident which took place on
     7/18/2020. Please accept this letter as a settlement demand concerning the above-referenced
     matter. Enclosed herein please find any and all medical records and billings concerning the
     injuries sustained by our client. Any and all statements made in this settlement demand are for
     the sole and exclusive purpose of settlement. (California Evidence Code §1152)

                                     FACTUAL BACKGROUND

            This action arises out of a personal injury incident which took place on inside your
     insured's business premises located at City of Industry, CA 91748. At that time and place,
     Claudia Valenzuela was walking and suddenly and unexpectedly she came in contact with a
     dangerous condition, causing her to slip and fall.

             Plaintiff was shopping inside your insured’s business premises. Without any
     forewarning, she came into contact with a clear liquid on the floor, slipped, and fell directly
     onto her buttocks. Plaintiff had no prior injuires. She sustained serious back injuries due to
     the fall.

            Please note, there were no warning signs, cones or any indication that this



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     dangerous condition existed on your insured's business premises. Furthermore, the area
     where the dangerous condition was located was a primary walkway and your insured had a
     duty to provide adequate warning of the dangerous condition. Based on California Case
     Law, your insured also had an affirmative duty to conduct reasonable inspections to
     discover, remedy and warn of this dangerous condition.

           Following this personal injury incident, Claudia Valenzuela immediately received
     medical treatment.

     Attached hereto are the following Exhibits:

          Number            Description

            1.              COVID-19 Protection for Policyholders from Unfair Settlement Practices
            2.              Medical Billing and Records for Claudia Valenzuela
                              a. Healthcare Partners Medical
                              b. AV Family Chiropractic Inc.
                              c. United Medical Imaging Healthcare
                              d. Cal Back and Pain Specialists
                              e. Onsyte Imaging
                              f. Nova Surgical


     I.     LIABILITY

             Based upon our evaluation and investigation of this matter, it is apparent that your
     insured was 100% responsible in causing the subject incident by failing to properly inspect their
     business premises, remedy and/or warn of the dangerous condition that caused my client to slip
     and fall. Your insured failed to take affirmative steps to alleviate the dangerous condition and
     violated their duty to maintain their business premises in a safe and reasonable manner.

            The rule is well stated in California Civil Code §1714 and cited by Rowland v.
     Christian (1968) 69 Cal.2d 108, wherein the court states in pertinent part:

                    "Everyone is responsible, not only for their willful acts, but
                    also for injury occasioned to another by his want of ordinary
                    care or skill in the management of his property."

           This California Civil Code violation raises a presumption of negligence under California
     Evidence Code §669 which provides;

                    (a) The failure of a person to exercise due care is presumed if:

                    (1) He violated a statute, ordinance, or regulation of a public
                    entity;




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                    (2) The violation proximately caused death or injury to person
                    or property;

                    (3) The death or injury resulted from an occurrence of the
                    nature which the statute, ordinance, or regulation was
                    designed to prevent; and

                    (4) The person suffering the death or injury to his person or
                    property was one of the class of persons for whose protection
                    the   statute, ordinance, or regulation was adopted.

            Our client was in the class of persons this statute was designed to protect. California
     Civil Code §1714(a) was designed to hold individuals liable for the results of their negligence.

             The injuries suffered by Claudia Valenzuela are of the type this statute was designed to
     prevent. Our client suffered personal injuries as a direct and proximate result of the violation of
     this California Civil Code section.

             The standard California Jury Instruction provides that if you decide that the defendant
     violated this law and that the violation was a substantial factor in bringing about the harm,
     then you must find that the defendant was negligent [unless you also find that the violation was
     excused]. If you find that the defendant did not violate this law or that the violation was not a
     substantial factor in bringing about the harm [or if you find the violation was excused], then you
     must still decide whether the defendant was negligent in light of the other instructions. (CACI
     418.) (See Evidence Code §669.) Therefore, a prima facie case of negligence has been
     established in this matter.

             California cases have time and again awarded damages for injuries caused on business
     premises due to having actual notice or constructive notice of a dangerous or defective condition,
     or in the alternative, by failing to make adequate inspections. Bridgman v. Safeway Stores
     (1960) 53 Cal.2d 443, Frazier v. Your-Way Market, Inc. (1960) 185 Cal.App.2d 390.

             The frequency of inspections and the time intervals between such inspections is an
     important consideration. As an example, it has been held that a lack of inspection for a 15
     minute period of time may be sufficient to infer negligence. Hale v. Safeway Stores (1954) 129
     Cal.App.2d 124. Other examples include Scanton v. W.G. Graham Co. (1959) 172 Cal.App.2d
     89 (patron stepped on a spool of thread - no inspection for a period of 20 minutes), Lewis v.
     Hackstrom Food Stores, Inc. (1947) 87 Cal.App.2d 601 (patron slipped in a pool of syrup - no
     inspection for between 15 to 25 minutes).

             Addressing the issue of actual/and or constructive notice of the dangerous condition is a
     recent California Supreme Court decision of Ortega v. K-Mart Corporation. The Court in Ortega
     concluded that evidence of the business owner's failure to inspect the business premises within a
     reasonable period of time is sufficient to allow an inference that the condition was on the floor
     long enough to give the owner the opportunity to discover and remedy it. (Bridgmen v. Safeway
     Stores Incorporated), (1960), 53 Cal.2nd 443. The Ortega Court in defining the exercise of



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     ordinary care by making reasonable inspections of the portions of the premises open to customers
     focused on the type of business and service being provided to its customers. The Ortega Court
     further stated, if the owner operates a self service grocery store, where customers are invited to
     inspect, remove, and replace goods on shelves, "the exercise of ordinary care may require the
     owner to take greater precautions and make more frequent inspections then would otherwise
     be needed to safeguard against the possibility that such a customer will create a dangerous
     condition by disarranging the merchandise", and creating potentially hazardous conditions.

             The Ortega Court concluded that a plaintiff need not show actual knowledge where
     evidence suggest that a dangerous condition was present for a sufficient period of time to charge
     the owner with the constructive knowledge of its existence. Knowledge may be shown by
     circumstantial evidence "which is nothing more than one or more inferences which may be set
     to arise reasonably from a series of proven facts".

             The Ortega Court further opined that a plaintiff may demonstrate the store keeper had
     constructive notice of the dangerous condition if they can show that the site had not been inspected
     within a reasonable period of time so that a person exercising due care would have discovered and
     corrected the hazzard. (Citing Bridgmen, supra, 53 Cal. 2nd 447). If the plaintiffs can show an
     inspection was not made within a particular period of time prior to the accident, they may raise an
     inference the condition did exist long enough for the owner to have discovered it.

             The evidence clearly demonstrates your insured failed to adequately inspect their
     aisles or the surrounding area, post warning signs and/or remedy the dangerous condition.
     Based on the Ortega decision, knowledge of the dangerous condition will be established in
     this matter.

             In light of the above facts and law, it is clear that your insured did not exercise ordinary
     care in the management of their premises. Furthermore, your insured's failure to use ordinary
     care in the management of their premises is the direct and proximate cause of the personal
     injuries to Claudia Valenzuela's body.

            Therefore, this settlement demand is based on our firm belief of no comparative fault on
     behalf of our client.


     II.     CAUSATION

             Likewise, a jury would receive instruction on the necessary relationship between the
     negligence and the injury. This relationship is slight and the bar is quite low to meet for our Client. It
     will easily be met here. As a result, the jury will receive very special instructions which make it easy -
     and mandatory - that they find causation.

             Civil Jury Instructions, CACI 430, Causation: Substantial Factor:

             A substantial factor in causing harm is a factor that a reasonable person would
             consider to have contributed to the harm. It must be more than a remote or trivial
             factor. It does not have to be the only cause of the harm.



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             The substantial factor standard is a relatively broad one, requiring only that the contribution of
     the individual be more than a negligible or theoretical cause. Bockrath v Aldrich Chemical Co. (1999)
     21 Cal.4th 71, 79. As you can see above, all that a jury must find is that the Defendant’s decision
     “contributed” to the harm suffered by my client. It is undisputable that a jury would come to such a
     conclusion under these circumstances.



     III.    INJURIES/DAMAGES


             The following is a detailed itemization of our Client’s injuries and medical expenses:

             •   DIAGNOSIS
                        ▪ Plaintiff was pushing a shopping cart when she unexpectedly came into
                           contact with liquid on the floor. Plaintiff slipped and fell with her right
                           leg forwards striking the shopping cart and her left leg backwards. She
                           fell on her buttocks and reported neck, back, right leg, and right hip
                           pain following the accident. Plaintiff had to miss work due to the
                           injection she received to her lumbar spine. It should be noted that
                           plaintiff received alternate treatment due to the COVID-19 pandemic.
                        ▪ Lumbar spine
                                o Lumbar radiculitis
                                o L5/S1: 3.6mm broad-based seen impressing upon the anterior
                                   portion of the thecal sac with bilateral neural foraminal
                                   stenosis
                                o L4/5: 3.4mm broad-based disc protrusion seen with a subtle
                                   right lateral annular tear impressin upon the anterior portion
                                   of the thecal sac with bilateral lateral spinal and neural
                                   foraminal stenosis, disc is impressing upon the exiting bilateral
                                   L4 nerve roots
                                o Loss of intervertebral disc height and disc desiccation change
                                   seen at the L1/2 and L4 though the S1 levels
                                o Grade 1 anterolisthesis seen at the L4/5 measuring 3.4mm
                                o Lumbar facet arthropathy
                                o Lumbar facet joint syndrome
                                o Loss of lumbar lordosis
                                o Lumbar sprain/strain
                        ▪ Cervical spine
                                o C5/6: 2.8mm broad-based disc protrusion seen impressing
                                   upon the anterior portion of the thecal sac with bilateral neural
                                   foraminal stenosis
                                o Loss of intervertebral disc height and disc desiccation change
                                   seen at the C5/6 and T2/3 levels
                                o Straightening of the normal cervical lordosis



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                                   o Sprain/strain
                           ▪   Left leg contusion
                           ▪   Anterior shin bruise
                           ▪   Neck pain which radiates to bilateral shoulder and bilateral upper
                               extremities
                           ▪   Low back pain which radiates into bilateral buttocks and thighs and
                               bilateral feet
                           ▪   Whiplash
                           ▪   Thoracic sprain/strain
                           ▪   Bilateral shoulder pain
                           ▪   Back pain
                           ▪   Headaches
                           ▪   Mid back pain
                           ▪   Neck pain
                           ▪   Shortness of breath
                           ▪   Chest tightness
                           ▪   Anxiety

           •     Procedures
                    o On September 21, 2020, Ms. Claudia Valenzuela underwent a left epidural steroid
                       injection at L4/5 and L5/S1 and lumbar facet injection at L4/5 and L5/S1,
                       performed by Nitesh Patel, M.D. at Nova Surgical Institute.

           •     Past Medical Expenses/Bills

           (1)   Healthcare Partners Medical                           $6,300.00
           (2)   AV Family Chiropractic Inc.                           $2,325.00
           (3)   United Medical Imaging Healthcare                     $520.00
           (4)   Cal Back and Pain Specialists                         $9,100.00
           (5)   Onyste Imaging                                        $3,900.00
           (6)   Nova Surgical                                         $7,195.00

                    Total Past Medical Bills                           $29,340.00

           •     Past Pain and Suffering                               $90,000.00

           •     Future Pain and Suffering                             $30,000.00

           •     Loss of Earnings                                      (Pending)

     Total Damages Suffered by Claudia Valenzuela                      $149,340.00 (Not a final amount)




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     IV.     IMPACT ON LIFE

         Since the accident, our Client’s physical limitations and pain have changed her life in a profound
     manner. Our Client has had trouble sleeping, exercising, performing household chores, and above all
     making a living for herself. In sum, our Client has had an abysmal outcome as a result of this accident
     and she continues to endure one of the most grueling, frustrating and emotionally draining periods of
     her life.

     V.      SETTLEMENT DEMAND

              Based upon the foregoing outline of general and special damages, demand is hereby made on
     behalf of our client for full and final settlement of his claims relating to the injuries he sustained on
     7/18/2020 in the amount of $130,000.00, or your insured’s policy limit should it be insufficient to
     satisfy said demand. Payment would be in exchange for a full release of all claims and potential claims
     against your insured arising out of this case by our Client.


     VI.     CONCLUSION

              Our offer of settlement as set forth herein shall remain open until April 6, 2020, at which time
     it will be withdrawn and not renewed. In the meantime, we request that you provide a copy of this
     letter to your insured post haste and advise your insured of their right to secure their own outside
     counsel.

             Many thanks in advance for your anticipated cooperation.



                                                     Very truly yours,
                                                     Jacoby & Meyers Attorneys LLP

                                                     /s/
                                                     Sophia Suon on behalf of
                                                     Greta Curry
                                                     Attorney at Law


     Enclosures

     cc:     file




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                           EXHIBIT C
Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 21 of 26 Page ID #:21



  1   JOHN K. FLOCK ESQ. (SBN 200183)
      THARPE & HOWELL, LLP
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      Email: jflock@tharpe-howell.com
  4
      Attorneys for Defendant,
  5   COSTCO WHOLESALE CORPORATION
  6

  7

  8              SUPERIOR COURT OF THE STATE OF CALIFORNIA
  9               COUNTY OF LOS ANGELES – CENTRAL DISTRICT
 10

 11   CLAUDIA VALENZUELA, an                     Case No. 22STCV22758
      individual,
 12
                         Plaintiff,              NOTICE OF REMOVALTO
 13                                              FEDERAL COURT
      v.
 14
    COSTCO WHOLESALE
 15 CORPORATION, a Washington
    corporation; LOUIS PARKER; and
 16 DOES 1 through 50,

 17                      Defendants.
 18

 19
 20         TO PLAINTIFF CLAUDIA VALENZUELA AND HER ATTORNEYS OF
 21   RECORD:
 22         PLEASE TAKE NOTICE THAT Defendant, Costco Wholesale Corporation
 23   (“Defendant”) has filed a Notice of Removal of this action in the United States District
 24   Court for the Central District of California, Western Division, pursuant to 28 U.S.C. §
 25   1332, 1334, 1441, 1446, and 1452, and as otherwise provided by law.
 26         A true and correct copy of said Notice of Removal is attached to this notice and
 27   incorporated herein by this reference as Exhibit “A”, and is served and filed herewith.
 28
                                                 -1-
                               NOTICE OF REMOVALTO FEDERAL COURT
                                       Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 22 of 26 Page ID #:22



                                         1   Dated: August 8, 2022                 THARPE & HOWELL, LLP
                                         2

                                         3

                                         4
                                                                                   By:
                                         5                                               JOHN K. FLOCK
                                         6                                                Attorneys for Defendant,
                                                                                          COSTCO WHOLESALE
                                         7
                                                                                          CORPORATION
                                         8

                                         9
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15250 Ventura Boulevard, Ninth Floor
 Sherman Oaks, California 91403-3221
    THARPE & HOWELL, LLP




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                                                        NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(B)
                                                                                                   Demir v. Costco Wholesale Corp.
                                       Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 23 of 26 Page ID #:23



                                         1                                 PROOF OF SERVICE
                                         2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                                         3   1. At the time of service I was at least 18 years of age and not a party to this legal
                                                action.
                                         4   2. My business address is 15250 Ventura Boulevard, Ninth Floor, Sherman Oaks,
                                                CA 91403.
                                         5
                                             3. I served copies of the following documents (specify the exact title of each
                                         6      document served):
                                         7                     NOTICE OF REMOVALTO FEDERAL COURT
                                             4. I served the documents listed above in item 3 on the following persons at the
                                         8      addresses listed:
                                         9        Kristopher Peerali, Esq.                  Attorneys for Plaintiff
                                                  PEERALI LAW                               Claudia Valenzuela
                                        10        3575 Cahuenga Blvd., Suite 480
                                                  Los Angeles, CA 90068
                                        11        (818) 688-4050; Fax (818) 688-4051
15250 Ventura Boulevard, Ninth Floor
 Sherman Oaks, California 91403-3221




                                                  kris@peeralilaw.com
    THARPE & HOWELL, LLP




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                                             5. a.          By personal service. I personally delivered the documents on the
                                        14                  date shown below to the persons at the addresses listed above in item
                                                            4. (1) For a party represented by an attorney, delivery was made to
                                        15                  the attorney or at the attorney's office by leaving the documents in an
                                                            envelope or package clearly labeled to identify the attorney being
                                        16                  served with a receptionist or an individual in charge of the office. (2)
                                                            For a party delivery was made to the party or by leaving the
                                        17                  documents at the party's residence between the hours of eight in the
                                                            morning and six in the evening with some person not less than 18
                                        18                  years of age.
                                        19       b.         By United States mail. I enclosed the documents in a sealed
                                                            envelope or package addressed to the persons at the addresses in item
                                        20                  4 and (specify one):
                                        21                  (1)       deposited the sealed envelope with the United States Postal
                                                                      Service, with the postage fully prepaid on the date shown
                                        22                            below, or
                                        23                  (2)       placed the envelope for collection and mailing on the date
                                                                      shown below, following our ordinary business practices. I
                                        24                            am readily familiar with this business's practice for
                                                                      collecting and processing correspondence for mailing. On
                                        25                            the same day that correspondence is placed for collection and
                                                                      mailing, it is deposited in the ordinary course of business with
                                        26                            the United States Postal Service, in a sealed envelope with
                                                                      postage fully prepaid.
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                                                         NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(B)
                                                                                                        Demir v. Costco Wholesale Corp.
                                       Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 24 of 26 Page ID #:24



                                         1                        I am a resident or employed in the county where the mailing occurred.
                                                                  The envelope or package was placed in the mail at Sherman Oaks,
                                         2                        California.
                                         3          c.               By overnight delivery. I enclosed the documents on the date shown
                                                                     below in an envelope or package provided by an overnight delivery
                                         4                           carrier and addressed to the person at the addresses in item 4. I placed
                                                                     the envelope or package for collection and overnight delivery at an
                                         5                           office or a regularly utilized drop box of the overnight delivery carrier.
                                         6          d.               By messenger service. I served the documents on the date shown
                                                                     below by placing them in an envelope or package addressed to the
                                         7                           person on the addresses listed in item 4 and providing them to a
                                                                     professional messenger service for service.
                                         8
                                                    e.               By fax transmission. Based on an agreement of the parties to accept
                                         9                           service by fax transmission, I faxed the documents on the date shown
                                                                     below to the fax numbers of the persons listed in item 4. No error was
                                        10                           reported by the fax machine that I used. A copy of the fax
                                                                     transmission, which I printed out, is attached to my file copy.
                                        11
15250 Ventura Boulevard, Ninth Floor
 Sherman Oaks, California 91403-3221




                                                    f. X             By e-mail or electronic transmission. Based on an agreement of the
    THARPE & HOWELL, LLP




                                        12                           parties to accept service by e-mail or electronic transmission, I caused
                                                                     the documents to be sent on the date shown below to the e-mail
                                        13                           addresses of the persons listed in item 4. I did not receive within a
                                                                     reasonable time after the transmission any electronic message or other
                                        14                           indication that the transmission was unsuccessful.
                                        15   6. I served the documents by the means described in item 5 on (date): see below
                                        16    [ x ] (FEDERAL): I declare that I am employed in the office of a member of the
                                              bar of this court at whose direction the service was made.
                                        17

                                        18    8/08/2022                 Candice VanDeudekom                  /s/ Candice VanDeudekom
                                                DATE                    (TYPE OR PRINT NAME)                (SIGNATURE OF DECLARANT)
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                                                                NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(B)
                                                                                                                  Demir v. Costco Wholesale Corp.
                                       Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 25 of 26 Page ID #:25



                                         1                                 PROOF OF SERVICE
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                                                  Kristopher Peerali, Esq.                  Attorneys for Plaintiff
                                        10        PEERALI LAW                               Claudia Valenzuela
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                                        11        Los Angeles, CA 90068
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                                        12        kris@peeralilaw.com
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                                        17                  For a party delivery was made to the party or by leaving the
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                                                 b.         By United States mail. I enclosed the documents in a sealed
                                        20                  envelope or package addressed to the persons at the addresses in item
                                                            4 and (specify one):
                                        21
                                                            (1)       deposited the sealed envelope with the United States Postal
                                        22                            Service, with the postage fully prepaid on the date shown
                                                                      below, or
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                                                            (2)       placed the envelope for collection and mailing on the date
                                        24                            shown below, following our ordinary business practices. I
                                                                      am readily familiar with this business's practice for
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                                                         NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(B)
                                                                                                        Demir v. Costco Wholesale Corp.
                                       Case 2:22-cv-05583-SB-PLA Document 1 Filed 08/09/22 Page 26 of 26 Page ID #:26



                                         1                        I am a resident or employed in the county where the mailing occurred.
                                                                  The envelope or package was placed in the mail at Sherman Oaks,
                                         2                        California.
                                         3          c.               By overnight delivery. I enclosed the documents on the date shown
                                                                     below in an envelope or package provided by an overnight delivery
                                         4                           carrier and addressed to the person at the addresses in item 4. I placed
                                                                     the envelope or package for collection and overnight delivery at an
                                         5                           office or a regularly utilized drop box of the overnight delivery carrier.
                                         6          d.               By messenger service. I served the documents on the date shown
                                                                     below by placing them in an envelope or package addressed to the
                                         7                           person on the addresses listed in item 4 and providing them to a
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                                        11
15250 Ventura Boulevard, Ninth Floor
 Sherman Oaks, California 91403-3221




                                                    f. X             By e-mail or electronic transmission. Based on an agreement of the
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                                        12                           parties to accept service by e-mail or electronic transmission, I caused
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                                        16    [ x ] (FEDERAL): I declare that I am employed in the office of a member of the
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                                        17

                                        18    8/08/2022                 Candice VanDeudekom                  /s/ Candice VanDeudekom
                                                DATE                    (TYPE OR PRINT NAME)                (SIGNATURE OF DECLARANT)
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                                                                NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(B)
                                                                                                                  Demir v. Costco Wholesale Corp.
